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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

 DEBORAH LAUFER,
                                                    Case No.: 3:20-cv-00760
 Individually,

                 Plaintiff ,
 v.

 HIWAY HOUSE, INC. d/b/a
 RUEBEL HOTEL, a Domestic
 Corporation,

             Defendant.
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          NOTICE OF VOLUNTARY DISMISSAL OF CASE WITH PREJUDICE

      Plaintiff, by and through undersigned counsel, hereby moves this court to dismiss the instant

case with prejudice pursuant to a settlement agreement entered into between the parties. The parties

further request that the Court retain jurisdiction to enforce the settlement agreement.

FOR THE PLAINTIFF:
/s/ Kimberly A. Corkill
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                                 CERTIFICATE OF SERVICE

    I hereby certify that September 22, 2020 I filed the foregoing using the Clerk of Court’s CM/ECF
e-filing system, which will serve all counsel of record electronically.

                                             /s/Kimberly A. Corkill
                                              Attorney
